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                                  KP-0449
                              
                        
          
        
      
    
  

  

  
    
      KP-0449
              Ken Paxton
                  
        Categories
                        
Counties and County Commissioners Courts
              , 
County Officers - Specific
              , 
Commissioner/County Judge
              , 
Nepotism
        
      
            
                  Summary
                      A commissioners court may delegate to the county judge its implied authority to employ persons. A court would likely conclude that a county judge who is delegated such authority is prohibited by the anti-nepotism prohibition in Government Code section 573.041 from appointing the spouse of a county commissioner to a paid county position.
      
                          
            Opinion File
                         kp-0449.pdf 

      
          
                
        
      
    

          
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    RQ-0511-KP

      
  
                June 02, 2023

      
  
      
      
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                     RQ0511KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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